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AO 91 (Rev. 08/09)    Criminal Complaint                         2017R00634                                                       NM/ms




                                                                     for the
                                                             District of Maryland
                                                                                                        AT OREENBELT
                                                                                                  CLERK. U.S. DISTRICT COURT
                     United States of America                           )                           DISTRICT OF MARYLAND
                                                                                          BY                              DEPUTY
                                   v.                                   )
                                                                        )
                                                                        )
                                                                               Case No.            17 - 2 53 4 TJS
                            LEE ELBAZ,                                  )
                        a/k/a "Lena Green"                              )
                              Defendant(s)


                                                         CRIMINAL COMPLAINT

          I. the complainant in this case. state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   2014 through Sept. 2017           in the county of         Montgomery County            in the
_______                   District of             Maryland          • the defendant(s) violated:

               Code Section                                                   Offense Description
18 U.S.C.      S 1343                               Wire Fraud
18 U.S.C.      S 1349                               Conspiracy to Commit Wire Fraud




          This criminal complaint is based on these facts:
See Attached Affidavit




          yf   Continued on the attached sheet.



                                                                                     ~illa~t'ssifta-------
                                                                                       Michael McGillicuddy.Special Agent. FBI
                                                                                                     Printed name and title


Sworn to before me and signed in my presence.
                                                                                                                       "



                                                                               --~-
                                                                                                       Judge's signature      .


City and state:                            Greenbelt, Maryland                        Hon.TimothyJ. Sullivan.U.S. MagistrateJudge
                                                                                                    Printed name and title
